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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				13dec10:00 am- 1:00 pmOral Arguments
							Event Details
							
							
									Event Details
									Tuesday,&nbsp;December 13, 2016
10:00 AM

S16A1790 Jones v. The State
S16A1791 Jones v. The State
S16Q1881 West v. City of Albany et al.

&nbsp;


								
							
						
						
							
							
								
									
																
										Time(Tuesday) 10:00 am - 1:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
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